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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Case No. 1:21-CR-117 (TFH)
                                     )
RYAN TAYLOR NICHOLS,                 )
      Defendant.                     )
____________________________________)

  SECOND SUPPLEMENT TO DEFENDANT’S MOTION FOR CHANGE OF VENUE

       Comes now Defendant Ryan Nichols by undersigned counsel and hereby submits this

second supplement to his Motion for Change of Venue (ECF Nos. 92, 135).

       Ryan Nichols, like all other January 6th Defendants who came to the United States Capitol

to support President Trump on January 6, 2021, is clearly a MAGA Republican. Mr. Nichols’s

right to choose to be a MAGA Republican is constitutionally protected and sacred. As is his right

to protest the Federal Government for redress of grievances.

       President Biden’s attack on Mr. Nichols’s political affiliation is unprecedented. Never in

the history of this great country has a sitting President made such terrible remarks directed at a

group that comprises millions of American citizens. The fact, however, that the group of people

being targeted by President Biden is also being prosecuted by his Attorney General, is

unconscionable.

       On September 1, 2022, Joseph R. Biden, Jr., the President of the United States of America,

addressed the nation in a prime-time television address, which began at 8:03 PM EDT and

concluded at 8:27 P.M EDT. During this 24-minute speech, President Biden made the following

thirty-one statements about MAGA Republicans:




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1. Donald Trump and the MAGA Republicans represent an extremism that threatens the very
   foundations of our republic.

2. Now, I want to be very clear — (applause) — very clear up front: Not every Republican,
   not even the majority of Republicans, are MAGA Republicans. Not every Republican
   embraces their extreme ideology.

3. But there is no question that the Republican Party today is dominated, driven, and
   intimidated by Donald Trump and the MAGA Republicans, and that is a threat to this
   country.

4. These are hard things. But I’m an American President — not the President of red America
   or blue America, but of all America. And I believe it is my duty — my duty to level with
   you, to tell the truth, no matter how difficult, no matter how painful. And here, in my view,
   is what is true: MAGA Republicans do not respect the Constitution.

5. They do not believe in the rule of law.

6. They do not recognize the will of the people.

7. They refuse to accept the results of a free election.

8. And they’re working right now, as I speak, in state after state to give power to decide
   elections in America to partisans and cronies, empowering election deniers to undermine
   democracy itself.

9. MAGA forces are determined to take this country backwards — backwards to an America
   where there is no right to choose, no right to privacy, no right to contraception, no right to
   marry who you love.

10. They promote authoritarian leaders, and they fan the flames of political violence that are a
    threat to our personal rights, to the pursuit of justice, to the rule of law, to the very soul of
    this country.

11. They look at the mob that stormed the United States Capitol on January 6th — brutally
    attacking law enforcement — not as insurrectionists who placed a dagger to the throat of
    our democracy, but they look at them as patriots.

12. And they see their MAGA failure to stop a peaceful transfer of power after the 2020
    election as preparation for the 2022 and 2024 elections.

13. They tried everything last time to nullify the votes of 81 million people.



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14. This time, they’re determined to succeed in thwarting the will of the people.

15. That’s why respected conservatives, like Federal Circuit Court Judge Michael Luttig, has
    called Trump and the extreme MAGA Republicans, quote, a “clear and present danger”
    to our democracy.

16. But while the threat to American democracy is real, I want to say as clearly as we can:
    We are not powerless in the face of these threats. We are not bystanders in this ongoing
    attack on democracy.

17. There are far more Americans — far more Americans from every — from every
    background and belief who reject the extreme MAGA ideology than those that accept it.

18. And, folks, it is within our power, it’s in our hands — yours and mine — to stop the assault
    on American democracy.


19. MAGA Republicans have made their choice.

20. They embrace anger.

21. They thrive on chaos.

22. They live not in the light of truth but in the shadow of lies.

23. Democrats, independents, mainstream Republicans: We must be stronger, more
    determined, and more committed to saving American democracy than MAGA
    Republicans are to — to destroying American democracy.

24. Ladies and gentlemen, we can’t be pro-ex- — pro-ex- — pro-insurrectionist and pro-
    American. They’re incompatible.

25. Democracy cannot survive when one side believes there are only two outcomes to an
    election: either they win or they were cheated. And that’s where MAGA Republicans are
    today.

26. They don’t understand what every patriotic American knows: You can’t love your country
    only when you win.


27. I will not stand by and watch elections in this country stolen by people who simply refuse
    to accept that they lost.

28. MAGA Republicans look at America and see carnage and darkness and despair.


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    29. They spread fear and lies –- lies told for profit and power.

    30. The MAGA Republicans believe that for them to succeed, everyone else has to fail.

    31. They believe America — not like I believe about America.1



    At the conclusion of his speech, backlit in red, and flanked by two unmoving Marines, the

President exhorts all Americans to put their hatred into action: “It’s within our power to stop the

assault on American democracy.” What better place to begin than in the jury box?

       The President has incited the entire nation to hate the January 6th defendants as a

patriotic duty. The President, the holder of National Command Authority, has charged the

American Public with protecting democracy against MAGA Republicans, at any cost. He has

made it clear, it’s us against them. President Biden demands betrayal of a juror’s oath by anyone

sitting in judgment of a January 6th defendant, and therefore a juror’s impartiality will not become

evident at voir dire. A demand from a person with such authority tends “to deprive the accused of

his right to a forum where impartiality is not impaired.” United States v. Thomas, 22 M.J. 388,

393 (C.M.A. 1986).

       Therefore, and for the reasons stated above, in addition to the reasons set forth in the

adopted motion to change venue (ECF No. 92) and in Nichols’ Supplement to the same (ECF No.

135), Ryan Taylor Nichols respectfully submits, that the Eastern District of Texas is the only place

where he has any chance at selecting a fair and impartial jury of his peers, which is his right under

the Sixth Amendment of United States Constitution.



1
 See White House Official Transcript of President Biden’s Speech: The Continued Battle for the
Soul of the Nation @ https://www.whitehouse.gov/briefing-room/speeches-
remarks/2022/09/01/remarks-by-president-bidenon-the-continued-battle-for-the-soul-of-the-
nation/ (last visited on September 8, 2022)


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Dated September 8, 2022                            Respectfully submitted,

                                                   /s/ Joseph D. McBride, Esq.
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                               CERTIFICATE OF SERVICE

 I hereby certify on the 8th day of September 2022, a copy of the foregoing was served upon all
             parties as forwarded through the Electronic Case Filing (ECF) System.

                                 /s/ Joseph D. McBride, Esq.
                                   Joseph D. McBride, Esq.




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